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       ATTACHMENT 5
  Declaration of Jennifer T. Pena
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3
4                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
5                                    AUSTIN DIVISION
6
     __________________________________________
7                                              )
     UNITED STATES OF AMERICA,                 )
8
                                               )
9                      Plaintiff,              )               Civil Action No. 1:23-cv-00853
                                               )
10               v.                            )
                                               )
11
     GREG ABBOTT, in his capacity as GOVERNOR )
12   OF THE STATE OF TEXAS, and THE STATE OF )
     TEXAS,                                    )
13                                             )
                       Defendants.             )
14
     __________________________________________)
15
16               DECLARATION OF JENNIFER T. PENA IN SUPPORT OF
17        THE UNITED STATES’ MOTION FOR PRELIMINARY INJUNCTION
18   I, Jennifer T. Pena, do declare as follows:
19   1. I am the Chief Legal Counsel for the United States Section of the International
20       Boundary and Water Commission (USIBWC) where I am responsible for legal
21       matters involving the Agency.
22   2. Based on my personal knowledge, as well as information provided to me in the
23       course of my official duties, I declare as follows:
24
     USIBWC’s role on the U.S-Mexico Border
25
     3. The International Boundary and Water Commission (IBWC) was established to
26
         implement treaties between the United States and Mexico. The USIBWC is the
27
         United States Section of the IBWC, and Mexico also has a Section of the IBWC
28
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1           (MXIBWC). The two sections work in concert to implement treaty requirements and
2           resolve differences that arise during implementation.
3        4. The USIBWC is a federal agency when acting on matters within its sole purview and
4           the IBWC is an international organization when the two sections act in concert.
5
         5. The IBWC’s predecessor entity, the International Boundary Commission (IBC), was
6
            established by the Convention of 1889 between the United States and Mexico. The
7
            IBC was tasked with carrying out the principles of the U.S.-Mexico Treaty of 1884,
8
            including delineating the international boundary.
9
         6. In 1944, the IBC became the IBWC through a 1944 Treaty between the United States
10
            and Mexico called the “Utilization of Waters of the Colorado and Tijuana and of the
11
            Rio Grande.” In the 1944 Treaty, the United States and Mexico agreed (among other
12
            things) how to allocate the waters of the bi-national rivers in the Treaty title,
13
            including the Rio Grande.
14
15       7. In 1970, the United States and Mexico entered another treaty called the “Treaty to

16          Resolve Pending Boundary Differences and Maintain the Rio Grande and Colorado

17          River as the International Boundary.” With respect to each of those rivers, the United
18          States and Mexico agreed that the international boundary will be the middle of the
19          channel occupied by the normal flow of the river. 1 However, because river channels
20          can shift over time or during large flood events, the countries agreed in the 1970
21          Treaty to take measures to stabilize and prevent shifts in the Colorado River and Rio
22          Grande.
23       8. To “reduce to a minimum the shifting of the channels of the Rio Grande[,]” Article
24          IV of the 1970 Treaty provides that, both in the main channel of the river and on
25
            adjacent lands, each country “shall prohibit the construction of works in its territory
26
27
28   1
      The IBWC conducts surveys of the international boundary in the Rio Grande and
     delineates the boundary line.
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1       which, in the judgment of the Commission, may cause deflection or obstruction of
2       the normal flow of the river or of its flood flows.”
3    9. In accordance with the 1970 Treaty, the United States and Mexican Sections of the
4       IBWC monitor construction activities along the Rio Grande floodplain and land
5
        boundary.
6
     10. Proponents of projects within the Rio Grande floodplain submit detailed hydraulic
7
        modeling showing any possible deflection. If the modeling shows a deflection or
8
        obstruction could impact the boundary line or exacerbate flooding risks, USIBWC
9
        works with the project proponent to modify the proposal to mitigate the problematic
10
        impacts.
11
     11. Both the Mexico and the United States Sections review the modeling, and the United
12
        States Section seeks concurrence from Mexico about whether a particular project is
13
        acceptable under the 1970 Treaty.
14
15   Texas’s Buoy System

16   12. I am familiar with the floating barrier that Texas has placed in the Rio Grande. The

17      barrier has been the subject of a series of correspondence from the Mexican section
18      of the IBWC. Its continued presence in the river is causing injury to the relationship
19      between the two sections and is interfering with the ability of the IBWC to fulfill its
20      mission.
21   13. On or around July 8, 2023, Demetrius Gaines—the Assistant Area Operations
22      Manager at USIBWC’s Amistad Field Office—emailed me pictures depicting buoys
23      and equipment being staged near Eagle Pass, Texas.
24   14. On or around July 11, 2023, and July 18, 2023, Robert Moore—Assistant Chief
25
        Counsel, U.S. Customs & Border Protection in Del Rio, Texas—emailed me
26
        photographs depicting Texas personnel in military-style uniforms installing a buoy
27
        system in the Rio Grande River channel. I emailed these photos to Mario Gomez,
28
        Area Operations Manager at USIBWC’s Amistad Field Office.
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1    15. The email with the July 11, 2023, photos said that the photos were taken on July 10,
2       2023. The email with the July 18, 2023, photos said that the photos were taken on
3       July 17, 2023.
4    16. On July 14, 2023, MXIBWC reported the installation of a buoy barrier in the Rio
5
        Grande. MXIBWC said that construction equipment was in the channel, including a
6
        crane boat with a winch, backhoe, speedboat and other equipment and personnel used
7
        to assemble, drag and anchor the buoys within the Rio Grande channel. The
8
        MXIBWC objected to the placement of the buoys and requested intervention of the
9
        United States Section to remove the buoys.
10
     17. On July 14, 2023, MXIBWC reported that, as a result of the floating barriers in Eagle
11
        Pass, Mexico was canceling a July 24, 2023, meeting concerning water releases to
12
        the United States from the Rio Conchos river in Mexico. The meeting was to be
13
        between Chihuahua State governmental officials, the USIBWC Commissioner, the
14
15      MXIBWC Commissioner, and a Commissioner of the Texas Commission on

16      Environmental Quality (TCEQ).

17   18. On July 14, 2023, during a meeting with TCEQ and IBWC to discuss delivery by
18      Mexico to the United States of water of the Rio Grande, the MXIBWC informed the
19      other participants that while Mexico still deemed cooperation over the Rio Grande
20      important, Mexico is concerned about unilateral activities undertaken by the State of
21      Texas that impede the spirit of cooperation necessary to find innovative and mutually
22      beneficial solutions. The MXIBWC team further stated that they are especially
23      concerned about actions subject to the IBWC’s jurisdiction that are being undertaken
24      without permission or authorization, directly impacting the IBWC’s authority.
25
        MXIBWC said that these actions could affect cooperation between the two countries
26
        going forward.
27
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1    19. On July 18, 2023, at 11:06 a.m. (Mountain), USIBWC received an email from
2       Rogelio Vargas who identified himself as a Captain with the Texas Army National
3       Guard.
4    20. In the email, Captain Vargas asked what the “legal limitations” are “to perform
5
        earthwork along the river’s edge of the Rio Grande River in Eagle Pass, Texas” and
6
        requested that USIBWC contact him via phone to discuss the matter.
7
     21. USIBWC contacted Captain Vargas via telephone to inform him of the hydraulic
8
        modeling required for all projects in the flood plain as well as the permit
9
        requirements for proposals on USIBWC-controlled land. In addition, USIBWC
10
        passed along contact information for the U.S. Army Corps of Engineers because they
11
        also have requirements that apply to work in the river.
12
     22. USIBWC summarized the information provided to Captain Vargas in a follow-up
13
        email that was sent to him on July 18, 2023, at 3:26 pm (Mountain) and in a later
14
15      email requested the latitude and longitude of the proposed work. As of July 25, 2023,

16      Captain Vargas has not responded.

17   23. To my knowledge, the July 18, 2023, communication is the first and only
18      communication from Texas that the USIBWC has received requesting information on
19      legal limitations on construction in or near the Rio Grande River.
20   Harms to USIBWC
21   24. The USIBWC’s mission includes implementing the United States Government’s
22      responsibilities under various treaties between the United States and Mexico.
23   25. The United States and Mexico agreed in 2020 to seek to reach agreement by
24      December 2023 on a new mechanism to improve the predictability and reliability of
25
        Rio Grande water delivery from Mexico to the United States. Discussions intended to
26
        lead towards this new agreement are at a sensitive stage. By causing Mexico to
27
        rethink and limit its cooperation with the United States, Texas’s floating barrier
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1       interferes with the IBWC’s ability to implement its core mission of implementation
2       of the 1944 Water Treaty for deliveries of water on the Rio Grande.
3    26. The 1848 Treaty, art. VII, requires that the entirety of the Rio Grande from New
4       Mexico to the Gulf of Mexico, where it forms an international border, remain “free
5
        and common to the vessels and citizens of both countries; and neither shall, without
6
        the consent of the other, construct any work that may impede or interrupt, in whole
7
        or in part, the exercise of this right.” Texas’s placement of a buoy barrier system
8
        without consulting with USIBWC interferes with the USIBWC’s implementation of
9
        the Treaty of 1848.
10
     27. As explained above in Paragraphs 9 through 11 above, the USIBWC monitors
11
        construction activities in accordance with the 1970 Treaty. For the IBWC to
12
        determine whether construction works will or will not obstruct or deflect the normal
13
        or flood flows of the Rio Grande, the IBWC needs to review hydraulic modeling of
14
15      the proposed project.

16   28. Texas’s placement of the buoy system in the Rio Grande without submitting

17      hydraulic modeling has interfered with the IBWC’s ability to determine the extent of
18      obstruction and deflection the buoy system will create to the normal and flood flows
19      of the Rio Grande, and thus interferes with USIBWC’s implementation of its treaty
20      authorities.
21   29. Article 2 of the 1944 Treaty states that “the Commission and its personnel may freely
22      carry out their observations, studies, and field work in the territory of either country.”
23      Texas’s buoy system—as actually constructed and as proposed—interferes with
24      IBWC personnel’s ability to freely cross the Rio Grande near Eagle Pass when
25
        engaged on official business.
26
27
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